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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                    Case No. 1:18-cr-28 (EGS)
               v

JARRELL HARRIS,
       Defendant.




   NOTICE OF LETTER AND DOCUMENTS PROVIDED TO DEFENSE COUNSEL

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby gives notice that on March 22,2078, the government sent to counsel of record

in the above-captioned case via hand delivery, the attached letter,     together with the items

referenced therein.

                                             Respectfully submitted,

                                             JESSIE K. LIU
                                             United States Attorney
                                             D.C. Bar No. 472845

                                     By:
                                                         lsl
                                             Dineen A. Baker, D.C. Bar 487820
                                             Assistant United States Attorney
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20001
                                             (202) 252-6es4
                                             dine e n. baker @us doj. gov




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                                CERTIFICATE OF SERVICE

        On this 22nd day of March, 2018, a copy of the foregoing was served on counsel of record
for the defendant via the Court's Electronic Filing System.


                                                             lsl
                                            Dineen A. Baker
                                            Assistant United States Attorney




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                                                   U.S. Department of Justice

                                                   Jessie K.     Liu
                                                   United States Attorney

                                                   District of Columbia


                                                   Judiciary Cenler
                                                   555 Fourth St., N.W.
                                                   Washington. D.C. 20530



                                                  March 22,2018

Via Hand Deliverv
Loui Itoh
Federal Public Defender
625 Indiana Avenue, NW, Suite 550
Washington, DC 20004

                       Re:     United States v. Jarrell Harris: Case No. 1 :18-cr-28 (EGS)

Dear Ms. Itoh:

       Please  find enclosed six DVDs containing the body worn camera ("BWC") video of the
officers involved in the above-referenced case, subject to the redactions itemized below. Each of
the redactions relates to a witness' Personal Identifying Information ("PII"), such as date of birth,
address, and phone number. The witnesses' statements and conversations with officers are not
redacted. Only the audio portions are redacted at the specified timestamps, with the exception of
the 15-second clip noted in Office Sibley's BWC where the officer holds-up a paper containing
PII. In light of this disclosure, the govemment will be moving to withdraw its Motion for a
Protective Order, and also moving to vacate the hearing on the motion set for March 26,2018.

Officer Cardinal:      no redactions
Officer Shiffer:       PII redacted at 16:20-17:30; and 32:30-33:40
Officer Chih:          no redactions
Officer Desir:         PII redacted at l5:50-16:06
Officer Dyke:          no redactions
Officer Finn:          no redactions
Officer Heffelman      PII redacte d at I 6:40-17 :45 ; 28 :30-28:55 ; and 30 3 5-3 I : 00
                                                                               :


Officer Hicks:         PII redacte d at 2l :32-21 :43 ; 21 :5 5 -22 :02; and 23 00- 23 :27
                                                                               :


Officer Hiller:        no redactions
Officer Howden:        no redactions
Officer Johnson:       PII redacted at 17:15-17:25
Officer Norfleet:      no redactions




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Officer Rodriguez:       no redactions
Officer Sibley:          PII redacted at 3: 15-4:15; 4:25-4:40 (audio and video); 4:43-4:50;6: 10-6:50; and
                         15:05- I 5:20
Officer Talley:          PII redacte d at 33 :02-33 : I 0
Officer Gupton:          PII redacted at 35:58-33:08

Please contact me    if you   have any questions in this matter.



                                                  Sincerely,




                                               2t1Dineen A. Baker
                                                  Assistant United States Attorney



Enclosures
cc: Court File (w/o enclosures)




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